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                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                                   DAYTON DIVISION

     IN RE:                                    )         Chapter 7 (Involuntary)
                                               )
     TAGNETICS INC.,                           )         Case No. 19-30822
                                               )
                        Alleged Debtor.        )
                                               )

         TAGNETICS INC.’S REPLY IN SUPPORT OF ITS MOTION TO DISMISS
                          AND COMPEL ARBITRATION

         Tagnetics, Inc. (“Tagnetics”), by and through its undersigned counsel, hereby submits this

Reply in Support of its Motion to Dismiss and Compel Arbitration to respond to the Responses to

Motion to Force Arbitration filed by alleged creditors Kenneth W. Kayser (“Kayser”), Ronald E.

Earley (“Earley”), and Jonathan Hager (“Hager”).1

         In short, the Alleged Creditors2 do not argue that their claims are not subject to the

arbitration clauses in their employment agreements – indeed, their claims are subject to the

arbitration clauses in their employment agreements. Instead, the Alleged Creditors argue that the

Court should defer ruling on the Motions to Dismiss until the Court makes a determination

regarding Tagnetics’ solvency. There is no basis, however, for the Alleged Creditors to make this

request and there is no basis for the Court to defer ruling on the Motion to Dismiss. Thus,

Tagnetics’ Motion to Dismiss and Compel Arbitration should be granted.

         Section 303 of the Bankruptcy Code allows an involuntary bankruptcy petition to be filed

by debt holders only if the claims are “not contingent as to liability or the subject of a bona fide




1
 The three alleged creditors filed two separate Responses – one was filed by Mr. Hager [Dkt. No.
56], the other was filed jointly by Messrs. Kayser and Earley [Dkt. No. 54].
2
    The Alleged Creditors shall refer to Kayser, Earley, and Hager.

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dispute as to liability or amount.” 11 U.S.C. § 303(b); see also In re Soderberg and Schafer CPAs,

LLC, 441 B.R. 262, 263 (Bankr. N.D. Ohio 2010). The burden of establishing that the claim is

non-contingent and undisputed (both as to liability and the amount) rests with the petitioning

creditors. Soderberg, 441 B.R. at 263. “If there is either a genuine issue of material fact that bears

upon the debtor’s liability, or a meritorious contention as to the application of law to undisputed

facts, then the petition must be dismissed.” Riverview Trenton R.R. Co. v. DSC, Ltd. (In re DSC,

Ltd.), 486 F.3d 940, 945 (6th Cir. 2007) (quoting Booher Enters. v. Eastown Auto Co. (In re

Eastown Auto Co.), 215 B.R. 960, 965 (B.A.P. 6th Cir. 1998)). “[I]n determining whether a claim

is subject to a bona fide dispute, the bankruptcy court must not resolve any genuine issues of fact

or law, it must only determine whether such issues exist.” Soderberg, 441. B.R. at 264 (citing

Riverview Trenton, 486 F.3d at 945).3

         Here, the undisputed facts establish that there is a dispute both as to the liability and the

amount of any potential liability. Indeed, Tagnetics disputes that it is liable to the Alleged

Creditors and, if it is liable, it disputes the sum that each of the Alleged Creditors is claiming. See

Answer to Involuntary Bankruptcy Petition [Dkt. No. 10] at pg. 1; Motion to Dismiss [Dkt. No.

44] at pg. 2, n.1. The Alleged Creditors meanwhile have not presented any evidence whatsoever

that Tagnetics is in fact liable for the wages they claim they are owed or that the amount of wages

(if liability exists) is in fact liquidated. The Alleged Creditors only allege that the sums they seek

are owed. To determine whether the wages are in fact owed, however (which they are not), the




3
  The bankruptcy court, however “may be required to conduct a limited analysis of the legal issues
in order to ascertain whether an objective legal basis for the dispute exists.” Soderberg, 441 B.R.
at 264.

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Alleged Creditors must establish liability and the amount of liability through arbitration, as

mandated by their employment agreements.4

         Notably, the Alleged Creditors do not contend their claims are not subject to arbitration.

In fact, they expressly “acknowledge [the] contracts contain arbitration clauses.”5 Moreover,

Hager expressly acknowledges that the issue of liability and the amount of liability is in dispute.

See Hager Response [Dkt. No. 56] (stating “I would like Tagnetics to recognize the debt that is

owed to me under my employment agreement”).                    Meanwhile Kayser and Earley tacitly

acknowledge that the issue of liability and the amount of liability is in dispute by stating the reason

they filed their claim in this Court, as opposed to arbitration, is because they believe the arbitration

process will be ineffective. See Kayser and Earley Response [Dkt. No. 54] (stating that they seek

to circumvent the mandatory arbitration requirement because “legal counsel [has advised] on

several occasions . . . that arbitrating . . . would likely lack efficacy [and] . . . it is uncertain whether

this [C]ourt would uphold the arbitration result if Tagnetics is determined to be insolvent”). These

assertions do not provide any basis whatsoever to deny Tagnetics’ Motion to Dismiss and Compel

Arbitration, let alone defer ruling on the Motion to Dismiss and Compel Arbitration until a

determination about Tagnetics’ solvency is made.

         The Alleged Creditors have no right to be before this Court to address their claims, and

deferring the ruling allows them to be part of this proceeding when they have no right to be here.




4
 For the sake of brevity, Tagnetics will not repeat the arguments it included in its Motion to
Dismiss and Compel Arbitration.
5
    This express acknowledgement was made only by Kayser and Earley.

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To the extent the Alleged Creditors may claim that they should be allowed to be passive observers,

such “passive” participation serves no purpose and is not authorized by the Bankruptcy Code.6

         For these reasons, as well as those set forth in Tagentics’ Motion to Dismiss and Compel

Arbitration [Dkt. No. 44], Tagnetics’ Motion to Dismiss and Compel Arbitration should be

granted, with prejudice and without further delay. The Court should retain, jurisdiction, however,

pursuant to 11 U.S.C. § 303(i) to allow Tagnetics to file a petition to recover the fees and costs it

incurred in connection with the Alleged Creditors’ filing their petition in this involuntary case.

See Nat’l Med. Imaging, LLC v. U.S. Bank N.A. (In re Nat’l Med. Imaging), 570 B.R. 147, 156

(Bankr. E.D. Pa. 2017) (stating “bankruptcy courts clearly retain jurisdiction to consider awarding

a putative debtor section 303(i) damages after the court dismisses the involuntary petition”).

                                              Respectfully submitted,

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                                              and




6
  Tagnetics contends the request to remain participants in this proceeding with no valid purpose or
right to be before this Court further illustrates the bad faith basis upon which these claims were
brought.

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                                CERTIFICATE OF SERVICE

         I hereby certify that on July 18, 2019, a copy of the foregoing Reply in Support of Motion
to Dismiss and Compel Arbitration was served (i) electronically on the date of filing through the
Court’s ECF System on all ECF participants registered in this case at the email address registered
with the court and (ii) electronically by email on counsel for Tagnetics, Inc., Stephen Stern, Esq.
(Stern@kaganstern.com), Douglas Draper, Esq. (ddraper@hellerdraper.com) and Leslie Collins,
Esq. (lcollins@hellerdraper.com), and (iii) by ordinary U.S. Mail on July 18, 2019 addressed to:

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